          Case 1:22-cv-00078-ELH Document 1 Filed 01/11/22 Page 1 of 38




                           IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF MARYLAND
                                   BALTIMORE DIVISION

 UNDER ARMOUR, INC.                                      )
  1020 Hull Street                                       )
  Baltimore, Maryland 21230,                             )    CIVIL ACTION NO. ____________
                                                         )
                        Plaintiff,                       )    JURY TRIAL DEMANDED
                                                         )
                v.                                       )
                                                         )
 STEVEN M. CERSONSKY                                     )
 DBA XO TRAINER                                          )
  16065 Brier Creek Drive                                )
  Delray Beach, Florida 33446                            )
                                                         )
                        Defendant.                       )
                                                         )
                                                         )
                                                         )
                                                         )
                                                         )

                                             COMPLAINT

       Plaintiff Under Armour, Inc. alleges as follows, upon actual knowledge with respect to itself and

its own acts, and upon information and belief as to all other matters:

                                     NATURE OF THE ACTION

         1.    This is a civil action for breach of contract, trademark infringement, trademark dilution,

 cybersquatting, and unfair competition under the Lanham Act, 15 U.S.C. § 1051, et seq. and/or

 Maryland statutory and common law. Under Armour seeks equitable and monetary relief from

 Defendant’s repeated, willful breaches of an agreement that Defendant entered into with Under

 Armour, as well as from Defendant’s violation of Under Armour’s trademark rights in its famous
            Case 1:22-cv-00078-ELH Document 1 Filed 01/11/22 Page 2 of 38




 UNDER ARMOUR name and mark, ARMOUR mark, and other ARMOUR-formative marks (the

 “ARMOUR Marks”)—with the bad-faith intent to profit from those marks.

         2.     Despite Defendant’s agreement with Under Armour to not use the mark ARMORE or

 any marks containing ARMOR/ARMOUR or any misspellings or variations thereof, Defendant

 continues to use ARMORE for fitness equipment, which directly breaches the parties’ agreement,

 misappropriates the core of Under Armour’s branding, and violates Under Armour’s trademark rights

 in multiple ways, including by diluting Under Armour’s famous UNDER ARMOUR and ARMOUR

 Marks and creating a likelihood of confusion with those marks. Under Armour has tried to resolve

 this matter numerous times over the two-and-a-half years since Defendant executed the agreement

 with Under Armour, but as Defendant is clearly not interested, violations continue.

                                                PARTIES

         3.     Plaintiff Under Armour is a Maryland corporation with a principal place of business at

 1020 Hull Street, Baltimore, Maryland 21230.

         4.     Defendant Steven M. Cersonsky is an individual doing business as XO Trainer with an

 address at 16065 Brier Creek Drive, Delray Beach, Florida, 33446.

                                     JURISDICTION AND VENUE

       5.       The Court has jurisdiction over the subject matter of this action pursuant to 15 U.S.C.

§ 1121 and 28 U.S.C. §§ 1331 and 1338(a) and (b). Because Under Armour is a citizen of the State of

Maryland and the Defendant is a citizen of Florida, and the matter in controversy exceeds $75,000,

exclusive of interest and costs, the Court also has jurisdiction under 28 U.S.C. § 1332. The Court has




                                                     2
          Case 1:22-cv-00078-ELH Document 1 Filed 01/11/22 Page 3 of 38




supplemental jurisdiction over Under Armour’s state law claims pursuant to 28 U.S.C. § 1367(a)

because those claims are substantially related to its federal claims.

         6.    The Court has personal jurisdiction over Defendant and venue is proper in this District

  under the parties’ October 1, 2018 agreement (“2018 Agreement”). Paragraph 18 of the 2018

  Agreement provides as follows:

       Any and all disputes between the parties arising out of or relating to this Agreement will
       be brought, heard, and determined in the United States District Court for the District of
       Maryland (Baltimore Division).

A copy of the 2018 Agreement is attached as Exhibit A.

         7.    Additionally, the Court has personal jurisdiction over Defendant and venue is proper

 pursuant to 28 U.S.C. § 1391(b) and (c) because Under Armour is located and is being harmed in this

 District; Defendant conducts business in this District; and the activity about which Under Armour

 complains has taken place and is continuing to take place in this District, including Under Armour’s

 negotiations regarding and entry into the 2018 Agreement and Defendant’s use of the infringing and

 dilutive trademarks and domain name to promote his products, which are directed to customers and

 potential customers in this District via Defendant and his websites.

           UNDER ARMOUR, ITS PRODUCTS, AND ITS ARMOUR TRADEMARKS

         8.    Under Armour is one of the world’s most successful, popular, and well-known providers

 of apparel, footwear, sporting goods, and accessories. Through Under Armour’s innovative use of

 advanced engineering and technology, it has revolutionized the performance-product industry. In

 2020 alone, Under Armour sold over $4.5 billion worth of products.




                                                      3
       Case 1:22-cv-00078-ELH Document 1 Filed 01/11/22 Page 4 of 38




       9.    Since at least as early as 1996, Under Armour has continuously used and promoted

(through itself, its predecessor in interest, and its licensees) the UNDER ARMOUR name/mark for

apparel.

       10.   Over the years, Under Armour has expanded to a wide range of other products and

services, including a full line of men’s and women’s athletic clothing, footwear, headwear, and

accessories; workwear; tactical wear; bags; sports and exercise equipment; fitness/wellness mobile

apps and wearable devices; and protective gear. The distinctive UNDER ARMOUR name/mark has

been used and promoted across Under Armour’s extensive product line.

       11.   In addition to its UNDER ARMOUR name/mark, Under Armour has used and promoted

the ARMOUR mark alone and numerous other ARMOUR-formative marks in connection with its

wide range of products and services, including GAMEDAY ARMOUR, BABY ARMOUR,

OFFSHORE ARMOUR, SUN ARMOUR, ARMOUR BRA, ARMOUR STRETCH, ARMOUR

GRABTACK, ARMOUR FLEECE, ARMOUR SELECT, ARMOUR ELITE, ARMOUR ACCESS,

ARMOURBLOCK, ARMOURSTORM, ARMOURLOFT, ARMOURGRIP, ARMOURSIGHT,

ARMOURSTEALTH, ARMOURBOX, and MY ARMOUR, among others. These ARMOUR-

formative marks have been used and promoted individually and/or together, and consumers have come

to associate the ARMOUR portion of the marks with UNDER ARMOUR.

       12.   Among its numerous products, Under Armour has offered exercise and fitness

equipment, including wearable electronic devices and other types of sports equipment, including in

connection with its ARMOUR Marks e.g.:




                                                 4
Case 1:22-cv-00078-ELH Document 1 Filed 01/11/22 Page 5 of 38




                                5
Case 1:22-cv-00078-ELH Document 1 Filed 01/11/22 Page 6 of 38




                                6
Case 1:22-cv-00078-ELH Document 1 Filed 01/11/22 Page 7 of 38




                                7
        Case 1:22-cv-00078-ELH Document 1 Filed 01/11/22 Page 8 of 38




                           UNDER ARMOUR’S SALES AND
                   PROMOTION OF ITS ARMOUR-BRANDED PRODUCTS

       13.   Under Armour has sold billions of dollars’ worth of products under the UNDER

ARMOUR and ARMOUR Marks, which are promoted, offered, and sold nationwide through a wide

variety of retail means, including thousands of retail stores. These include Under Armour’s own

Factory and Brand House retail stores, as well as national, regional, independent, and specialty

retailers such as Foot Locker, Finish Line, Dick’s Sporting Goods, Kohl’s, Macy’s, Dunham’s,

Modell’s, Hibbett Sports, Nordstrom, Academy Sports & Outdoors, Bass Pro Shops, Cabela’s, and

The Army and Air Force Exchange Service.

       14.   Under Armour’s products are also offered, sold, and promoted through its own websites,

catalogs, and toll-free call center and the websites and mail order catalogs of many of its retailers,

including the websites used by Bloomingdale’s, Cabela’s, Bass Pro Shops, City Sports, Dick’s

Sporting Goods, Eastbay, Eastern Mountain Sports, Finish Line, Foot Locker, Gilt Groupe, Hibbett,

Kohl’s, LL Bean, Lord & Taylor, Macy’s, MC Sports, Modell’s, Nordstrom, Sportsman’s Guide, and

Sportsman’s Warehouse.

       15.   For years, Under Armour has spent tens of millions of dollars annually advertising and

promoting its ARMOUR Marks and products to the general public. Under Armour has done so,

widely and extensively, through virtually every available type of media, including print publications,

signage, television, and the Internet.

       16.   Under Armour also promotes and showcases its ARMOUR Marks and products on its

own and authorized websites and social media sites, including www.underarmour.com,

www.facebook.com/underarmour, www.twitter.com/underarmour, and

www.instagram.com/underarmour, among others.


                                                    8
       Case 1:22-cv-00078-ELH Document 1 Filed 01/11/22 Page 9 of 38




      17.   Under Armour has run extensive, nationwide advertising campaigns that reinforce the

ARMOUR Marks as a potent shorthand for Under Armour and its vast product offerings—for example

the THIS IS YOUR ARMOUR, EARN YOUR ARMOUR, ARMOUR UP, YOUR ARMOUR JUST

GOT LIGHTER, and UNDER THE ARMOUR campaigns:




                                               9
       Case 1:22-cv-00078-ELH Document 1 Filed 01/11/22 Page 10 of 38




       18.   With respect to publications and signage, Under Armour has advertised and promoted its

ARMOUR Marks and products in a wide variety of nationally circulated magazines and newspapers.

       19.   Further, the ARMOUR Marks have been featured on billboards and other signage in

various cities, including Baltimore, Philadelphia, and New York City’s Times Square.

       20.   Under Armour has advertised and promoted its ARMOUR Marks and products through

television commercials, including a television commercial during the Super Bowl; product placement

in popular movies, national television programs, and video games; and coverage of sporting events

featuring its branded products, among other means.

       21.   Sponsorships, outfitting agreements, individual athlete agreements, and partnerships with

famous celebrities represent another significant form of advertising and promotion. Under Armour’s

ARMOUR Marks have been promoted through high-profile athletes and teams at the youth, collegiate,

professional, and Olympic levels, including, for example, the most decorated Olympian of all time

Michael Phelps; World Champion ski racer Lindsey Vonn; ballerina Misty Copeland; NBA basketball



                                                 10
       Case 1:22-cv-00078-ELH Document 1 Filed 01/11/22 Page 11 of 38




stars Steph Curry (Golden State Warriors) and Joel Embiid (Philadelphia 76ers); MLB baseball stars

Bryce Harper (Philadelphia Phillies), Freddie Freeman (Atlanta Braves), and Buster Posey (San

Francisco Giants); NFL football stars Tom Brady (Tampa Bay Buccaneers), Cam Newton (Carolina

Panthers), and Patrick Peterson (Arizona Cardinals); supermodel Giesele Bündchen; famous celebrity

Dwayne “The Rock” Johnson; college sports teams, such as Auburn, Notre Dame, University of

Wisconsin, University of Maryland, Northwestern University, Navy, and South Carolina; and high

school sports teams around the country.




                                                11
Case 1:22-cv-00078-ELH Document 1 Filed 01/11/22 Page 12 of 38




                                12
       Case 1:22-cv-00078-ELH Document 1 Filed 01/11/22 Page 13 of 38




       22.   From 2006 to 2021, Under Armour was an authorized supplier of footwear and gloves to

the NFL and is currently an official performance footwear supplier to the MLB.

       23.   In addition to its own substantial advertising and promotional activities, Under Armour

and its ARMOUR Marks and products have received and continue to receive widespread unsolicited

media coverage. Indeed, many of the athletes, teams, and sporting events sponsored by Under Armour

appear on nationally broadcast television programs and in widely circulated publications, exposing

tens of millions of consumers to the ARMOUR Marks.



                                                 13
       Case 1:22-cv-00078-ELH Document 1 Filed 01/11/22 Page 14 of 38




       24.   Under Armour has received numerous awards for its commercial success in connection

with the development of its innovative and technologically enhanced products and its marketing and

branding achievements. In 2014, Under Armour received the prestigious “Marketer of the Year”

Award from Advertising Age magazine. That same year, Yahoo Finance named Under Armour the

2014 “Company of the Year.” In 2015 and 2016, Under Armour ranked #4 (with a brand value of $5

billion in 2015 and $5.5 billion in 2016) on the Forbes list of “The World’s Most Valuable Sports

Brands.” In 2016, Under Armour also received the preeminent marketing industry award for the best

“Ad of the Year” from AdWeek for its “Rule Yourself” campaign featuring 28-time Olympic medalist

Michael Phelps.

       25.   As a result of its distinctive nature, and thus inherent strength; widespread advertising,

publicity, promotion, and sales; and longstanding and extensive use and recognition, the UNDER

ARMOUR mark has been well known and famous for years.

       26.   In Under Armour, Inc. v. Exclusive Innovations, Inc., No. SAG-20-03427 (D. Md. May

21, 2021), this Court noted that “Under Armour’s marks are famous in the United States due to its

national advertising, celebrity sponsorships, and the number of in person and online retail locations.”

Similarly, in Under Armour, Inc. v. Bode, Opp. No. 91178653 (TTAB May 21, 2009), the Trademark

Trial and Appeal Board of the United States Patent and Trademark Office (PTO) expressly

acknowledged the fame of the UNDER ARMOUR mark.

                    UNDER ARMOUR’S TRADEMARK REGISTRATIONS
                             FOR ITS ARMOUR MARKS

       27.   Under Armour owns, among others, the following valid and subsisting U.S. federal

trademark registrations for its UNDER ARMOUR marks (true and correct copies of which are

attached as Exhibit B):


                                                  14
    Case 1:22-cv-00078-ELH Document 1 Filed 01/11/22 Page 15 of 38




                   Reg. No.
    Mark                                        Goods/Services
                  Reg. Date
                              Clothing, namely, t-shirts, long sleeve shirts, mock
UNDER ARMOUR     2279668      turtle necks, hats, shorts, shirts, leggings, jersey’s, pants,
                 09-21-1999   headwear for winter and summer, under wear, tank tops
                              (male and female), winter caps, sweat shirts/pull overs,
                              women’s bra in Class 25
                              Wristbands, headbands, rain suits, jackets, socks, skirts,
                 2917039      athletic sleeves, hoods, skull wraps, skull caps, vests,
UNDER ARMOUR
                 01-11-2005   hats, shorts, shirts, leggings, pants, headwear for winter
                              and summer, underwear, tank tops, bras, girdles in
                              Class 25
                              Athletic footwear in Class 25
UNDER ARMOUR     3178549

                 11-28-2006
                              Full line of athletic clothing in Class 25
UNDER ARMOUR     3642614

                 06-23-2009


                              Ankle socks; athletic uniforms; baseball caps; baseball
UNDER ARMOUR     3712052      shoes; baseball uniforms; baselayer bottoms; baselayer
                 11-17-2009   tops; beach footwear; boxer briefs; boxer shorts; briefs;
                              capri pants; children’s headwear; coats; dresses; fleece
                              pullovers; football shoes; footwear; foul weather gear;
                              golf caps; golf shirts; golf trousers; hooded pullovers;
                              hunting vests; jogging pants; knit shirts; men’s socks;
                              mittens; moisture-wicking sports bras; moisture-wicking
                              sports pants; moisture-wicking sports shirts; polo shirts;
                              rain jackets; rain trousers; rainproof jackets; rainwear;
                              running shoes; short-sleeved or long-sleeved t-shirts;
                              short-sleeved shirts; ski bibs; ski gloves; ski jackets; ski
                              pants; ski wear; skorts; sleeveless jerseys; snow pants;
                              snowboard gloves; snowboard mittens; snowboard
                              pants; soccer boots; sport shirts; sports bras; sports
                              jerseys; sports pants; sports shirts; sweat bands; sweat
                              pants; tennis wear; thongs; thongs; training shoes;
                              undershirts; visors; waterproof jackets and pants; wind
                              pants; wind resistant jackets; wind shirts in Class 25




                                         15
    Case 1:22-cv-00078-ELH Document 1 Filed 01/11/22 Page 16 of 38




                   Reg. No.
    Mark                                       Goods/Services
                  Reg. Date
                              Baseball shoes; Basketball sneakers; Beachwear; Bib
UNDER ARMOUR     4225998      overalls for hunting; Camouflage gloves; Camouflage
                 10-16-2012   jackets; Camouflage pants; Camouflage shirts;
                              Camouflage vests; Cleats for attachment to sports shoes;
                              Fishing shirts; Football shoes; Golf shorts; Hunting
                              jackets; Hunting pants; Hunting shirts; Sneakers;
                              Swimwear; Volleyball jerseys; Yoga pants; Yoga shirts
                              in Class 25
                              Clothing for athletic use, namely, padded shirts, padded
UNDER ARMOUR     3700135      pants, padded shorts, padded elbow compression sleeves
                 10-20-2009   in Class 25

                              Bags specially adapted for sports equipment; golf
                              gloves; batting gloves; football gloves; lacrosse gloves;
                              mouth guards for athletic use; cases for holding athletic
                              mouth guards; athletic equipment, namely, guards for
                              the lips; chin pads for athletic use; knee pads for athletic
                              use; elbow pads for athletic use; forearm pads for
                              athletic use; shin guards for athletic use; football girdles
                              in Class 28
                              Football towels; golf towels; towels in Class 24
UNDER ARMOUR     3722377

                 12-08-2009
                              Eyewear, namely, sunglasses, lenses for sunglasses,
UNDER ARMOUR     3500322      and visors for use with helmets in Class 9
                 09-09-2008
                              Eyewear; goggles for sports in Class 9
UNDER ARMOUR     4135826

                 05-01-2012
                              Backpacks specially adapted for holding laptop
UNDER ARMOUR     3901624      computers in Class 9
                 01-04-2011
                              Retail store services featuring apparel and sporting
UNDER ARMOUR     3375771      goods in Class 35
                 01-29-2008




                                         16
       Case 1:22-cv-00078-ELH Document 1 Filed 01/11/22 Page 17 of 38




                             Reg. No.
        Mark                                             Goods/Services
                            Reg. Date
                                        Online retail store services featuring apparel, footwear,
UNDER ARMOUR              3638277       sporting goods, eyewear, headwear, wrist bands, sweat
                          06-16-2009    bands, belts, gloves, hand-warmers, plastic water
                                        bottles sold empty, sports bags, tote bags, travel bags,
                                        backpacks, messenger bags, duffel bags, wheeled bags,
                                        sling bags, umbrellas, towels in Class 35


       28.   Under Armour also owns, among others, the following valid and subsisting U.S.

trademark registrations for the ARMOUR mark per se and other ARMOUR-formative marks,

including for clothing, footwear, accessories, and other products (true and correct copies of which are

attached as Exhibit C):


                            Reg. No.
     Mark                                                  Goods/Services
                            Reg. Date
                                        Clothing, excluding golf clothing, namely, shorts, shirts,
ARMOUR                    3392904       pants, and gloves in Class 25
                          03-04-2008
                                        Footwear, excluding golf footwear in Class 25
ARMOUR                    3970978

                          05-31-2011
                                        Clothing, excluding golf clothing, namely, hooded
ARMOUR                    3720012       sweat shirts, crew neck shirts, long sleeve shirts,
                          12-01-2009    pullover shirts in Class 25
                                        Clothing, excluding golf clothing, namely, headwear,
ARMOUR                    4133248       hats, caps, baseball caps and bras in Class 25
                          04-24-2012
                                        On-line retail store services featuring apparel, footwear,
ARMOUR                    5387620       headwear, eyewear, and sporting goods; and retail store
                          01-23-2018    services featuring apparel, footwear, headwear,
                                        eyewear, and sporting goods in Class 35




                                                  17
       Case 1:22-cv-00078-ELH Document 1 Filed 01/11/22 Page 18 of 38




                          Reg. No.
     Mark                                                 Goods/Services
                          Reg. Date
                                      Jackets, pants in Class 25
ARMOUR FLEECE          3510702

                       10-07-2008
                                      Clothing, namely, shirts, t-shirts, short-sleeved shirts,
GAMEDAY                4094318        shorts; clothing for athletic use, namely, padded shorts;
ARMOUR                 01-31-2012     clothing for athletic use, namely, padded shirts in
                                      Class 25

                                      Athletic shirts; athletic shorts; baselayer bottoms;
ARMOURVENT             4642057        baselayer tops; bottoms; capri pants; capris; caps;
                       11-18-2014     compression garments for athletic or other non-medical
                                      use, namely, shirts, shorts; hats; headwear; jackets;
                                      leggings; long-sleeved shirts; shirts; short-sleeved shirts;
                                      shorts; sports shirts; t-shirts; tank tops; tank-tops; tops;
                                      track jackets; in Class 25
                                      Bras in Class 25
ARMOUR BRA             4142942

                       05-15-2012


       29.   Under Armour also owns the following valid and subsisting Maryland trademark

registrations for its famous ARMOUR mark, among others (true and correct copies of which are

attached as Exhibit D):


                Mark                   Reg. No.        Reg. Date          Products/Services
                                                                    Clothing, excluding golf
  ARMOUR                              2012-0227 12/18/12            clothing in Class 39
                                                                    Knee pads for athletic use and
  ARMOUR                              2012-0228 12/18/12            protective athletic cups in
                                                                    Class 22


                     DEFENDANT AND HIS WRONGFUL ACTIVITIES

       30.   In or around early 2016, Under Armour learned that Defendant Steven M. Cersonsky had

filed a trademark application at the United States Patent and Trademark Office (PTO) to register the

                                                  18
       Case 1:22-cv-00078-ELH Document 1 Filed 01/11/22 Page 19 of 38




mark ARMORE for the following goods: “Medicaments for promoting recovery from tendon and

muscle injuries and disorders and sports related injuries; Medicaments for muscle, ligament, tendon,

bone, cartilage; Medicaments to help assist with the regeneration of ligament and tendon fibers” in

Class 5; “Robotic exoskeleton suits worn by humans for the purpose of enhancing the strength and

endurance of the person wearing the suit” in Class 9; “Apparatus for physical training for medical use;

Braces for limbs and joints, for medical use; Exercise machines for therapeutic purposes; Manually-

operated exercise equipment for physical therapy purposes; Manually-operated resistance bands for

physical therapy purposes; Manually-operated resistance tubing for physical therapy purposes;

Medical and therapeutic device and apparatus, namely, a force and motion sensing apparatus and

assisted exercise machine for the rehabilitation of arm, thigh, shoulder affected by neuromuscular

diseases, disorders, or injuries for home or clinical use; Medical apparatus and instruments for treating

osteoarthritis, osteoporosis, osteotraumatic injuries, degenerative bone diseases and joint diseases;

Medical braces for elbow, knee, and shoulder; Physical rehabilitation, physical therapy and sports

medicine equipment all designed specifically for medical use, namely, shoulder stretcher using

resistance cables; Splints for arm, leg, and shoulder” in Class 10; and “Accessory for manually-

operated exercise equipment, namely, accessory attachment to increase muscle resistance; Body-

training apparatus; Body-training apparatus for strengthening arms, shoulders, legs; Exercise

equipment, namely, shoulder stretcher using resistance cables; Exercise equipment, namely, resistance

training exoskeleton; Exercise machines; Fitness machines and equipment, namely, weights,

treadmills, rowing machines, stair stepping machines, resistance machines, stationary cycles; Manual

leg exercisers; Manually-operated exercise equipment; Manually-operated exercise equipment for

physical fitness purposes; Physical fitness equipment, namely, resistance training exoskeleton;



                                                  19
       Case 1:22-cv-00078-ELH Document 1 Filed 01/11/22 Page 20 of 38




Sporting goods and equipment for speed training, namely, rings, cones, speed ladders, coaching sticks,

training arches, ankle bands, resistance chutes, hurdles” in Class 28. That application was assigned

Serial No. 86/711,957 (the “ARMORE Application”). Printouts from the PTO’s website with the

filing details for the ARMORE Application are attached as Exhibit E.

       31.   Around that same time, Under Armour also learned that Defendant was using and

promoting the ARMORE name and mark in connection with wearable exercisers, fitness bands,

towels, and other fitness-related products on his website at the <armorefitness.com> domain. Armore

LLC, which was upon information and belief owned and managed by Defendant, was and is still the

registrant of that domain name (even though the business registration for Armore LLC has expired).

Current WHOIS printouts for the <armorefitness.com> domain name showing this ownership

information are attached as Exhibit F.

       32.   In addition to ARMORE, Defendant was using variations of ARMOR to promote his

ARMORE fitness products, including ARMORED, GET ARMORED, ARMORE UP, and ARMORE

10, which were used in various promotional campaigns on Defendant’s website and on various social-

media sites. Making matters worse, Defendant was featuring athletes in UNDER ARMOUR-branded

clothing in some of his promotional materials.

       33.   On July 20, 2016, Under Armour filed Opposition No. 91229079 against the ARMORE

Application with the Trademark Trial and Appeal Board (“TTAB”).

       34.   On February 1, 2018, following Under Armour’s motion for discovery sanctions, the

TTAB sustained the opposition and refused registration of the ARMORE Application.

       35.   Despite the TTAB’s order sustaining Under Armour’s opposition and refusing the

ARMORE Application, Defendant’s use of ARMORE and various ARMOR-formative marks and



                                                 20
       Case 1:22-cv-00078-ELH Document 1 Filed 01/11/22 Page 21 of 38




phrases continued and expanded. As a result, on May 1, 2018, Under Armour filed a federal

complaint in the District of Maryland (Baltimore Division) alleging trademark infringement, unfair

competition, trademark dilution, and cybersquatting under federal and/or Maryland state law. A true

and accurate copy of Under Armour’s as-filed May 1, 2018 complaint is attached as Exhibit G.

        36.   The parties then engaged in several months of settlement discussions, during which time

Defendant represented that he would rebrand and cease use of ARMORE and all ARMO[U]R-

formative marks and phrases.

        37.   On October 8, 2018, Under Armour and Defendant entered into the 2018 Agreement

attached as Exhibit A. The 2018 Agreement prohibits Defendant from using, registering, or seeking to

register any mark, name, or designation comprising or incorporating the terms ARMORE, ARMOUR,

or ARMOR for any products and services. Defendant Steven M. Cersonsky signed the 2018

Agreement on his own behalf and as Manager of Armore, LLC.

        38.   Paragraph 19 of the 2018 Agreement provides that if Defendant violates the 2018

Agreement, Under Armour is entitled to “(1) preliminary and injunctive relief; (2) specific

performance and/or monetary damages; (3) all costs and attorneys’ fees that Under Armour incurs in

connection with the violation; and (4) any monetary or other relief awarded by the court, tribunal,

mediator, or arbitrator.” Paragraph 19 of the 2018 Agreement also provides that “[t]hese remedies will

be cumulative, non-exhaustive, and in addition to any other remedy to which Under Armour may be

entitled.” Paragraph 9 of the 2018 Agreement is binding on and inures to the benefit of the parties to

the agreement, including Defendant Cersonsky.

        39.   Paragraph 1 of the 2018 Agreement provides that Defendant will “permanently cease all

use of, and will not (directly or indirectly) use, register, apply to register, or cause to be used or



                                                    21
       Case 1:22-cv-00078-ELH Document 1 Filed 01/11/22 Page 22 of 38




registered in the future any trademark, name, logo, trade name, business name, brand, designation,

and/or other identifier comprised of or containing ARMORE, ARMOR, ARMOUR, and/or any

variations or any other identifiers confusingly similar to or dilutive of the ARMOUR Marks (the

“Prohibited Terms”) in any form (e.g., as, or as part of, a trademark, logo, trade name, business name,

domain name, fictitious name, tag, label, packaging, product design, product description, app name,

keyword, favicon, and/or social media name), in any medium (e.g., print, television, Internet, or other

electronic or online means), in connection with any products or services.”

       40.   Paragraph 1 notwithstanding, Paragraph 2 of the 2018 Agreement permitted Defendant

until December 7, 2018 to phase out all Prohibited Terms on his website, social media pages, and/or

other electronic digital materials. Paragraph 2 also required that Defendant transfer his

<armorefitness.com> domain to Under Armour by December 27, 2018.

       41.   Paragraph 3 of the 2018 Agreement permitted Defendant until March 8, 2019 to sell off

and exhaust his existing physical inventory of products that bore any Prohibited Terms. After March

8, 2019, Paragraph 3 of the 2018 Agreement required Defendant to destroy all remaining products and

related materials bearing any of the Prohibited Terms.

       42.   In or around April 2019, Under Armour learned that Defendant had breached the 2018

Agreement in multiple ways and that Defendant was again violating Under Armour’s valuable rights

in its ARMOUR Marks by continuing to use and promote the ARMORE and ARMOR-formative

marks and offer products in connection with the ARMORE mark. At this same time, Defendant also

still had not transferred the <armorefitness.com> domain name. Under Armour sent Defendant a letter

on April 19, 2019 outlining these breaches and asking they be promptly resolved pursuant to the terms




                                                  22
       Case 1:22-cv-00078-ELH Document 1 Filed 01/11/22 Page 23 of 38




of the 2018 Agreement. A true and accurate copy of Under Armour’s as-sent April 19, 2019 letter is

attached as Exhibit H.

       43.   Defendant did not resolve the breaches outlined in Under Armour’s April 19, 2019 letter.

As a result, Under Armour sent a follow-up letter to Defendant on November 15, 2019, reiterating its

request that Defendant comply with his contractual obligations and resolve the outstanding breaches.

A true and accurate copy of Under Armour’s as-sent November 15, 2019 letter is attached as Exhibit I.

       44.   After Under Armour sent its November 15, 2019 letter, the parties engaged in back-and-

forth email communications over the next year and a half, wherein Defendant represented that he

would remove all outstanding violations. During these communications, Under Armour emailed

Defendant several times outlining his continued violations of the 2018 Agreement.

       45.   While Defendant resolved some violations, including rebranding his website to the name

XO TRAINER, numerous violations persisted. Given Defendant’s continued violations, Under

Armour sent yet another letter to Defendant on June 16, 2021 outlining Defendant’s numerous

continued uses of ARMORE and various ARMOR-formative marks in violation of the 2018

Agreement. A true and accurate copy of Under Armour’s as-sent June 16, 2021 letter is attached as

Exhibit J.

       46.   As of filing this lawsuit, Defendant has not resolved any of the breaches outlined in

Under Armour’s June 16, 2021 letter.

       47.   In breach of Paragraphs 1 through 3 of the 2018 Agreement, Defendant still uses the

mark ARMORE to promote and sell his products, as shown in the examples below and attached as

Exhibit K.




                                                 23
       Case 1:22-cv-00078-ELH Document 1 Filed 01/11/22 Page 24 of 38




                                 (https://xotrainer.com/pages/shop)




    (https://xotrainer.com/blogs/news/armore-wearable-resistance-arm-exerciser-break-a-sweat)

       48.   In breach of Paragraphs 1 through 3 of the 2018 Agreement, Defendant continues to use

active URLs that include ARMORE in the URL and direct to a page where Defendant’s product can

be purchased. True and accurate screen captures of these pages are attached as Exhibit L.




                                                24
       Case 1:22-cv-00078-ELH Document 1 Filed 01/11/22 Page 25 of 38




       49.   In breach of Paragraphs 1 through 3 of the 2018 Agreement, Defendant still uses

ARMORE on Defendant’s other websites, including on Defendant’s fitness products, where Defendant

offers those products for sale, as shown in the examples below and attached as Exhibit M.




                           (https://armore-fitness-store.myshopify.com/)




                                                25
Case 1:22-cv-00078-ELH Document 1 Filed 01/11/22 Page 26 of 38




           (https://mail.armorefitness.com/armore-fitness-store.html)




                                      26
       Case 1:22-cv-00078-ELH Document 1 Filed 01/11/22 Page 27 of 38




       50.   In breach of Paragraphs 1 through 3 of the 2018 Agreement, Defendant continues to

promote and offer for sale his fitness product in connection with the ARMORE mark on Defendant’s

Amazon page, including on a model wearing an Under Armour-branded shirt, as shown in the example

below and attached as Exhibit N.




       (https://www.amazon.com/Armore-Wearable-Exerciser-Size-Fits/dp/B01L08N3M2)


       51.   In breach of Paragraphs 1 through 3 of the 2018 Agreement, Defendant continues to use

and promote the ARMORE mark in his social-media names (Twitter: @ArmoreFitness; Instagram:

armore.fitness; YouTube: Armore™ Fitness; Pinterest: Armore Fitness) and on posts on his social-

media pages, as shown in the examples below and attached as Exhibit O.




                           (https://www.instagram.com/armore.fitness/)



                                               27
Case 1:22-cv-00078-ELH Document 1 Filed 01/11/22 Page 28 of 38




                    (https://twitter.com/armorefitness)




                                    28
Case 1:22-cv-00078-ELH Document 1 Filed 01/11/22 Page 29 of 38




   (https://www.youtube.com/channel/UCPBazGS_se-he-Q8zEYJwMg/videos)




                 (https://www.pinterest.com/armorefitness/)



                                    29
         Case 1:22-cv-00078-ELH Document 1 Filed 01/11/22 Page 30 of 38




         52.   In breach of Paragraph 2 of the 2018 Agreement, Defendant still has not transferred the

<armorefitness.com> domain name to Under Armour.

         53.   Defendant had actual and constructive knowledge of Under Armour’s rights in its

ARMOUR Marks, including as a result of Under Armour’s successful TTAB opposition proceeding

against the ARMORE Application, Under Armour’s federal lawsuit filed against Defendant and his

use of ARMORE and ARMOR-formative marks, and Defendant’s 2018 Agreement with Under

Armour. Yet, Defendant has eschewed his contractual obligations and continued to use his ARMORE

mark in bad faith to take advantage of the tremendous reputation and goodwill of Under Armour and

its famous trademarks.

         54.   Defendant knew or should have known that his ARMORE mark and

<armorefitness.com> domain name was (and are) infringing and dilutive. Thus, Defendant acted

knowingly, willfully, maliciously, wantonly, fraudulently, in reckless regard of the truth, and in bad

faith.

                       INJURY TO UNDER ARMOUR AND THE PUBLIC

         55.   Defendant’s unauthorized use of Defendant’s ARMORE name/mark in violation of the

2018 Agreement is likely to cause confusion, mistake, and deception as to the source or origin of

Defendant and/or his products, and is likely to falsely suggest a sponsorship, connection, or

association of Defendant, his products, and/or his commercial activities with Under Armour.

         56.   Defendant’s unauthorized use of his ARMORE name/mark in violation of the 2018

Agreement has damaged and irreparably injured, and, if permitted to continue, will further damage and

irreparably injure, Under Armour and its ARMOUR Marks.




                                                   30
        Case 1:22-cv-00078-ELH Document 1 Filed 01/11/22 Page 31 of 38




        57.   Defendant’s unauthorized use of his ARMORE name/mark in violation of the 2018

 Agreement has irreparably injured, and, if permitted to continue, will continue to irreparably injure the

 public, who has an interest in being free from confusion.

        58.   Defendant’s actions described above have diluted and will continue to dilute the

 distinctiveness and value of Under Armour’s famous ARMOUR Marks and thus will further damage

 and irreparably injure Under Armour and its ARMOUR Marks.

       59.    Defendant knew or should have known that his activities described above violated the

2018 Agreement, were infringing and dilutive, and constituted cybersquatting, and thus Defendant

acted knowingly, willfully, in reckless regard of the truth, and in bad faith.

                                     FIRST CLAIM FOR RELIEF
                                         Breach of Contract

       60.    Under Armour repeats and realleges each and every allegation set forth in Paragraphs 1

through 59 of this Complaint.

       61.    The 2018 Agreement is valid, binding, and enforceable by Under Armour against

Defendant.

       62.    Defendant materially and repeatedly breached, and continues to be in material breach, of

the 2018 Agreement as a result of his actions described above.

       63.    Under Armour has suffered damages that were proximately caused by Defendant’s

material breaches of the 2018 Agreement.




                                                    31
        Case 1:22-cv-00078-ELH Document 1 Filed 01/11/22 Page 32 of 38




                                  SECOND CLAIM FOR RELIEF
                                  Trademark Infringement Under
                        Section 32(1) of the Lanham Act, 15 U.S.C. § 1114(1)

       64.    Under Armour repeats and realleges each and every allegation set forth in Paragraphs 1

through 63 of this Complaint.

       65.    Without Under Armour’s consent, Defendant used and continues to use in commerce

reproductions, copies, and colorable imitations of Under Armour’s registered ARMOUR Marks in

connection with the offering, distribution, and advertising of goods and services, which are likely to

cause confusion, or to cause mistake, or to deceive, in violation of Section 32(1) of the Lanham Act, 15

U.S.C. § 1114(1).


                                THIRD CLAIM FOR RELIEF
                          Trademark Infringement, False Designation
                        of Origin, Passing Off, and Unfair Competition
             Under Section 43(a)(1)(A) of the Lanham Act, 15 U.S.C. § 1125(a)(1)(A)

       66.    Under Armour repeats and realleges each and every allegation set forth in Paragraphs 1

through 65 of this Complaint.

       67.    Defendant’s actions, as described above, are likely to cause confusion, or to cause

mistake, or to deceive as to the origin, sponsorship, or approval of Defendant, his products, and/or his

commercial activities by or with Under Armour, and thus constitute trademark infringement, false

designation of origin, passing off, and unfair competition in violation of Section 43(a)(1)(A) of the

Lanham Act, 15 U.S.C. § 1125(a)(1)(A).




                                                   32
         Case 1:22-cv-00078-ELH Document 1 Filed 01/11/22 Page 33 of 38




                                   FOURTH CLAIM FOR RELIEF
                                  Trademark Dilution Under Section
                             43(c) of the Lanham Act, 15 U.S.C. § 1125(c)

        68.    Under Armour repeats and realleges each and every allegation set forth in Paragraphs 1

through 67 of this Complaint.

        69.    Under Armour’s ARMOUR Marks are famous, as that term is used in 15 U.S.C.

§ 1125(c), and were famous prior to Defendant’s first use of his ARMORE name and mark based on,

among other things, the inherent distinctiveness and federal registration of Under Armour’s ARMOUR

Marks and the extensive nationwide use, advertising, promotion, and recognition of those marks.

        70.    Defendant’s actions, as described above, are likely to dilute the distinctive quality of

Under Armour’s famous UNDER ARMOUR mark by blurring in violation of Section 43(c) of the

Lanham Act, 15 U.S.C. §1125(c), as amended by the Trademark Dilution Revision Act of 2006.

                                    FIFTH CLAIM FOR RELIEF
                                    Cybersquatting Under Section
                             43(d) of the Lanham Act, 15 U.S.C. § 1125(d)

        71.    Under Armour realleges and incorporates by reference Paragraphs 1 through 70 as though

fully set forth here.

        72.    Defendant has registered and/or used the <armorefitness.com> domain name with a bad-

faith intent to profit from Under Armour’s ARMOUR Marks.

        73.    Under Armour’s ARMOUR marks were distinctive and famous at the time Defendant

registered and/or used the <armorefitness.com> domain name.

        74.    Many of Under Armour’s ARMOUR Marks were federally registered at the PTO at the

time Defendant registered and/or used the <armorefitness.com> domain name.




                                                    33
        Case 1:22-cv-00078-ELH Document 1 Filed 01/11/22 Page 34 of 38




       75.    The <armorefitness.com> domain name is identical, confusingly similar, and/or dilutive

of Under Armour’s ARMOUR Marks.

                                   SIXTH CLAIM FOR RELIEF
                                  Trademark Infringement Under
                                  Md. Code Bus. Reg. § 1-414 et seq.

       76.    Under Armour repeats and realleges each and every allegation set forth in Paragraphs 1

through 75 of this Complaint.

       77.    Defendant’s use, without the consent of Under Armour, of a reproduction and/or

colorable imitation of Under Armour’s registered UNDER ARMOUR mark in connection with the sale,

offering for sale, and/or advertising of goods or services, is likely to cause confusion, or to deceive as to

the origin of the goods or services, and thus constitutes trademark infringement in violation of Md.

Code Bus. Reg. § 1-414 et seq.

       78.    Defendant’s reproduction and/or colorable imitation of Under Armour’s registered

UNDER ARMOUR mark and application of that reproduction and/or colorable imitation to

Defendant’s advertising, labels, prints, receptacles, signs, or wrappers that are intended to be used with

goods or services and/or in conjunction with the sale or other distribution of goods or services in

Maryland constitutes trademark infringement in violation of Md. Code Bus. Reg. § 1-414 et seq.


                                SEVENTH CLAIM FOR RELIEF
                          Trademark Infringement and Unfair Competition
                                 Under Maryland Common Law

       79.    Under Armour repeats and realleges each and every allegation set forth in Paragraphs 1

through 78 of this Complaint.

       80.    Defendant’s actions, as described above, are likely to cause confusion, or to cause

mistake, or to deceive as to the affiliation, connection, or association of Defendant’s with Under


                                                    34
         Case 1:22-cv-00078-ELH Document 1 Filed 01/11/22 Page 35 of 38




Armour, or as to the origin, sponsorship, or approval of Defendant, his products, and his commercial

activities by or with Under Armour such that Defendant’s acts constitute infringement of Under

Armour’s proprietary rights in its ARMOUR Marks, misappropriation of Under Armour’s goodwill in

those marks, and unfair competition under Maryland common law.

                                             JURY DEMAND

       Pursuant to Fed. R. Civ. P. 38, Under Armour respectfully demands a trial by jury on all issues

properly triable by a jury in this action.

                                         PRAYER FOR RELIEF

       WHEREFORE, Under Armour respectfully requests that this Court enter judgment in its favor

on each and every claim for relief set forth above and award it relief, including, but not limited to, the

following:

       A. An Order declaring that Defendant’s unlawful activities described above breach the 2018

Agreement; infringe and dilute Under Armour’s ARMOUR Marks; and constitute cybersquatting and

unfair competition under federal and/or state law, as detailed above;

       B. A permanent injunction enjoining Defendant and his employees, agents, partners, companies,

affiliates, distributors, dealers, and all persons in active concert or participation with any of them who

receive actual notice of the injunction by personal service or otherwise (including domain-name

registrars and Internet Service Providers (ISPs)):

               1.      From using, registering, or seeking to register the ARMORE mark in any form,

       including in connection with any other wording or designs, and from using any other marks,

       logos, designs, designations, or indicators that are confusingly similar to any of Under Armour’s

       ARMOUR Marks and/or dilutive of Under Armour’s UNDER ARMOUR mark;



                                                     35
         Case 1:22-cv-00078-ELH Document 1 Filed 01/11/22 Page 36 of 38




               2.     From registering or using in any manner, any domain name that incorporates

       Under Armour’s ARMOUR Marks or any name, mark or designation confusingly similar thereto

       or dilutive thereof (including, but not limited to, any indicators that incorporate ARMOUR or

       ARMOR, e.g., <armorfitness.com>);

               3.     From representing by any means whatsoever, directly or indirectly, that

       Defendant, any products or services offered by Defendant, or any activities undertaken by

       Defendant, are associated or connected in any way with Under Armour or sponsored by or

       affiliated with Under Armour in any way; and

               4.     From assisting, aiding or abetting any other person or business entity in engaging

       in or performing any of the activities referred to in subparagraphs B(1) through (3) above.

       C.      An Order directing Defendant (and the relevant registrar and registry) to transfer to

Under Armour the <armorefitness.com> domain name and all other domain names Defendant owns or

controls that contain any of Under Armour’s ARMOUR Marks, any marks confusingly similar to any of

Under Armour’s ARMOUR Marks, and/or any marks dilutive of Under Armour’s UNDER ARMOUR

mark (including, but not limited to, any domain names comprised of or containing ARMOUR or

ARMOR);

       D.      An Order directing Defendant to destroy all products, packaging, signage,

advertisements, promotional materials, stationary, forms, and/or any other materials and things that

contain or bear Defendant’s ARMORE mark or any other marks, logos, designs, designations, or

indicators that are confusingly similar to any of Under Armour’s ARMOUR Marks and/or dilutive of

Under Armour’s UNDER ARMOUR mark;




                                                    36
            Case 1:22-cv-00078-ELH Document 1 Filed 01/11/22 Page 37 of 38




       E.       An Order directing that, within thirty (30) days after the entry of the injunction,

Defendant file with this Court and serve on Under Armour’s attorneys a report in writing and under oath

setting forth in detail the manner and form in which Defendant has complied with the injunction;

       F.       An Order requiring Defendant to pay statutory damages under 15 U.S.C. § 1117(d), on

election by Under Armour, in an amount of one hundred thousand dollars ($100,000) for the registration

and use of the <armorefitness.com> domain name;

       G.       An Order requiring Defendant to account for and pay to Under Armour any and all

profits arising from the foregoing acts, and increasing such profits, in accordance with 15 U.S.C. § 1117

and other applicable laws, including, but not limited to, Md. Code Bus. Reg. § 1-414 et seq.;

       H.       An Order requiring Defendant to pay Under Armour damages in an amount as yet

undetermined caused by the foregoing acts, and trebling such damages in accordance with 15 U.S.C.

§ 1117 and other applicable laws, including, but not limited to, Md. Code Bus. Reg. § 1-414 et seq.;

       I.       An Order requiring Defendant to pay Under Armour all of its litigation expenses,

including reasonable attorney’s fees and the costs of this action pursuant to 15 U.S.C. § 1117 and other

applicable laws;

       J.       An Order requiring Defendant to pay Under Armour all of its actual attorney’s fees,

costs, and expenses incurred in connection with this action and in connection with enforcing the Order

issued in connection with this action pursuant to the 2018 Agreement;

       K.       An Order requiring Defendant to pay Under Armour punitive damages under Maryland

common law; and

       L.       Other relief as the Court may deem appropriate.




                                                     37
        Case 1:22-cv-00078-ELH Document 1 Filed 01/11/22 Page 38 of 38




Dated: January 11, 2022            Respectfully submitted,

                                   /s/ Douglas A. Rettew
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                                          38
